     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 1 of 54. PageID #: 32
                                                                           1


1                    UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
2                           EASTERN DIVISION
3                                 -----
4
5      IN RE:                                 )
                                              )
6          NATIONAL PRESCRIPTION              ) CASE NO. 1:17CV2804
                                              )
7          OPIATE LITIGATION                  )
8
9                                 -----
10       TRANSCRIPT OF TELECONFERENCE PROCEEDINGS HAD BEFORE
11        THE HONORABLE JUDGE DAN A. POLSTER, JUDGE OF SAID
12               COURT, ON WEDNESDAY, DECEMBER 13TH, 2017,
13                     COMMENCING AT 1:00 O'CLOCK P.M.
14                                -----
15
16
17
18       Court Reporter:                  GEORGE J. STAIDUHAR
                                          801 W. SUPERIOR AVE.,
19                                        SUITE 7-184
                                          CLEVELAND, OHIO 44113
20                                        (216) 357-7128
21
22
23
24
25
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 2 of 54. PageID #: 33
                                                                           2


1         Plaintiffs' Counsel Speakers:
2         James C. Peterson, Esq.
3         Peter Weinberger, Esq.
4         Joe Rice, Esq.
5         Paul Hanly, Jr., Esq.
6         Paul Farrell, Jr., Esq.
7
8
9         Defense Counsel Speakers:
10        Mark Cheffo, Esq.
11        Enu Mainigi, Esq.
12        Tyler Tarney, Esq.
13
14
15        Requests from Prospective Speakers:
16        Lee Javins, Esq.
17        Steve Berman, Esq.
18        Frank Dudenhefer, Esq.
19        Dave Cates, Esq.
20        James Young, Esq.
21        Mark Troutman, Esq.
22        James R. Dugan, Esq.
23        Don Barrett, Esq.
24        Hunter Shkolnik, Esq.
25                                - - - - -
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 3 of 54. PageID #: 34
                                                                           3


1                         P R O C E E D I N G S
2                      THE COURT: All right. Good afternoon,
3      everyone. And thanks for getting available on short
4      notice. This is the initial telephone conference in
5      Opiate Litigation MDL No. 2804, and I do have a court
6      reporter who is going to transcribe this.
7                      I want to do a couple housekeeping things at
8      the outset. The master MDL docket is up and running, and
9      all or virtually all of the cases that have been
10     transferred into the MDL, approximately 146, have been
11     electronically transferred.
12                     So if you have a filing in an individual
13     case, you should file it in the individual case. If it
14     is a filing that pertains to more than one case, you
15     should file it in the master docket.
16                     If any lawyer has an ECF account in any
17     federal court around the country, you don't need pro hac
18     vice status in our Court. We could make a whole lot of
19     money, but we are not going to make it unnecessarily. So
20     if you have an ECF account, you are in. If any attorney
21     has already filed a notice of appearance in the
22     transferor Court, you need not file a new notice of
23     appearance in the MDL. With your being added to a roster
24     of attorneys, a new attorney, you have got to file your
25     notice of appearance, and any new case that comes into
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 4 of 54. PageID #: 35
                                                                           4


1      the MDL, obviously, you have to file a notice of
2      appearance.
3                      So also, at the outset, I want to give a big
4      thanks to Jim Peterson of West Virginia and his staff,
5      including Pam Perkins and Aaron Herra, without their
6      help, we never would have been able to pull this
7      together.
8                      MR. PETERSON: Thank you, Judge.
9                      THE COURT: Oh, all right. I want to
10     correct that. We just received the first 65 cases that
11     were on the transferor order. We haven't -- there are a
12     lot of conditional transfers that haven't gone through
13     yet. So we don't have those individual dockets in
14     Northern District of Ohio. We do have individual case
15     dockets for the 65 government cases that were initially
16     transferred from the MDL. All right.
17                     There are a number of agenda items. I guess
18     we can -- the first thing, obviously, we are going to
19     have to organize this MDL. We have, I think, three
20     categories of cases. We have got the government -- I
21     will call government plaintiff cases. That would be
22     cities, counties.
23                     States. We have a category of cases filed
24     by other institutions, you know, ERISA pension, and
25     health and pension, welfare funds, et cetera, and then we
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 5 of 54. PageID #: 36
                                                                           5


1      have some cases filed by individuals or groups of
2      individuals, and one of the things I am going to have to
3      decide is whether I am going to keep the non government
4      cases in this MDL or whether it is just not possible to
5      manage them and they need to go back. But I am going to
6      obviously hear from everyone, and at the outset, they are
7      all going to be in the MDL.
8                      So we have got to figure out how we are
9      going to organize this effectively. So I assume that
10     some lawyers on the plaintiffs' side have given this some
11     thought as for the defendants, and we have a group of
12     manufacturer defendants.
13                     We have, at least, three main distributor
14     defendants, and I know at least in the Ohio cases we had,
15     I believe, four doctors. I haven't really analyzed the
16     other cases to see if we have other defendants. So I
17     guess, Jim Peterson, you want to speak from the
18     plaintiffs on organization, and then I will hear from the
19     defendants.
20                     MR. PETERSON: Jim Peterson here. Thank
21     you, your Honor.
22                     And I would like to thank you and your
23     staff. Without them, we wouldn't be here today either,
24     so I would like to thank you again.
25                     THE COURT: I have a very good staff. Thank
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 6 of 54. PageID #: 37
                                                                           6


1      you.
2                      MR. PETERSON: Thank you. As far as the
3      first issue, the agenda item, with the Court's blessing,
4      I would like to host an organizational meeting on Monday,
5      December 18, 2017, in Cleveland, Ohio, so that we can
6      first address the issue of liaison counsel and steering
7      committees, and that would be with the Court's blessing.
8                      And if so, I have asked Peter Weinberger who
9      is listed here to address agenda items 3, 4, and 5, I
10     have asked him because he is in Cleveland with the
11     Spangenberg firm, to see if we can't round up a meeting
12     facility, a hotel, et cetera, so that we can start moving
13     this case forward.
14                     MR. WEINBERGER: Your Honor, this is
15     Peter Weinberger. We have tentatively made arrangements
16     for a large meeting room at the downtown Hilton for
17     December 18th. We also have a block of rooms and are
18     prepared once we have the Court's agreement to this, to
19     send out information on venue hotel rooms, et cetera, for
20     a meeting presumably to start at about 1:00 o'clock on
21     Monday, December 18th in Cleveland.
22                     THE COURT: All right. That's fine with me,
23     and of course, ultimately, it is my appointment, but I
24     will certainly rely heavily on suggestions from the
25     parties, and you want -- you are going to have to file a
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 7 of 54. PageID #: 38
                                                                           7


1      motion with me, with your recommendations, and again, I
2      will rely heavily on that. I have done so in my prior
3      MDLs. I want to make sure that the group is not too
4      large, that it is unwieldy, but you need to include the
5      right people, and of course, anyone who has a leadership
6      role, any lawyer on both sides, I am going to require his
7      or her personal involvement.
8                      I've heard that in some MDLs people got
9      leadership roles, and then they sent other people in
10     their firms to court. We don't do that. If you have got
11     a leadership role, that's great, but it is because your
12     colleagues believed you personally are the one to
13     exercise that responsibility, and I will be relying on
14     that.
15                     All right. Well, that takes --
16                     MR. SHKOLNIK: Judge --
17                     THE COURT: Yes.
18                     MR. SHKOLNIK: -- Judge Polster, this is
19     Hunter, Schkolnik. I am speaking for this purpose on
20     behalf of John Climaco, who I think advised the Court
21     that he could not be there due to a medical issue for his
22     wife, and he wanted me to offer to the Court that he
23     would jointly host this organizational meeting along with
24     Mr. Weinberger. He was going to suggest that himself,
25     but he couldn't be on the call.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 8 of 54. PageID #: 39
                                                                           8


1                      THE COURT: Well, I know John; I know Pete.
2      You can -- doesn't matter who is hosting it. You just
3      can do it, and I think that's fine.
4                      All right. From the defendants' standpoint,
5      how are you suggesting organization?
6                      MR. CHEFFO: Your Honor, and again, I echo
7      counsel's thank you, this is Mark Cheffo for the
8      manufacturing defendants today.
9                      I think we understood that that meeting
10     would be largely plaintiffs, and we don't necessarily
11     have a dog in that fight as you might imagine. I think
12     from our prospective it is probably a little more
13     manageable just in terms of the number of defendants.
14                     I think we probably would like some
15     opportunity to caucus amongst ourselves, but our view
16     generally is that we could also propose kind of a slate
17     of folks who would represent the key defendants. I think
18     one question that we would probably like to work through
19     amongst ourselves unless, of course, the Court has
20     specific issues or suggestions or concerns, we do think
21     that the issue -- and your Honor addressed this
22     upfront -- kind of how do we get our hands around this
23     and kind of how your Honor gets your hands around this
24     litigation in terms of tracks and how we are going to
25     step move that will be important.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 9 of 54. PageID #: 40
                                                                           9


1                      So in other words, we could contemplate
2      certainly one steering committee that would involve
3      distributors and manufacturers. We could also
4      contemplate two separate defense steering committees
5      depending on how the Court thinks it is appropriate to
6      track that. So to directly answer your question, we
7      would be happy to caucus amongst ourselves.
8                      Enu will speak certainly for herself and
9      then perhaps in the next coming weeks give the Court a
10     proposal for the defense side.
11                     THE COURT: All right. That's fine, Mark.
12     I am open -- I mean, good lawyers and smart clients know
13     how to organization themselves the best, and so if you
14     think one steering -- one joint steering committee with
15     the manufacturers and distributors makes sense, that's
16     fine. If you think there should be separate ones, you
17     know, you make your proposal. That's okay, too, I
18     guess.
19                     Enu, did you want to say anything on that?
20     Enu Mainigi, did you want to say anything on that?
21                     MS. MAINIGI: Yes, your Honor.
22                     Your Honor, I agree with Mr. Cheffo. I
23     think that we are planning on getting together with the
24     other defendants, including the manufacturers, obviously,
25     and we are open to whatever organizational structure
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 10 of 54. PageID #: 41
                                                                          10


1       would seem to make sense. If your Honor has a certain
2       way that he has done it before, we are happy to hear more
3       about that. Otherwise, we will come prepared on January
4       9th with a proposal.
5                       THE COURT: All right. Thank you.
6                       Well, each MDL is different. This one is
7       different than my previous ones. So I am not set on
8       whether there should be one committee with both the
9       manufacturers and distributors or two. All right.
10                      Then we have got, at least in my cases, in
11      the Ohio cases, there were, I believe, four doctors --
12                      MR. TARNEY: Yes, your Honor.
13                      THE COURT: -- as defendants. So is this
14      Tyler?
15                      MR. TARNEY: Yes, your Honor. This is
16      Tyler Tarney speaking on behalf of the physician
17      defendants. As far as the organization, we share in
18      the approach to justify the manufacturers and
19      distributors.
20                      THE COURT: Well, do you think -- do you
21      think there should be a separate steering committee for
22      the doctors? I haven't looked at the other hundred
23      cases. Are these four doctors named in a number of the
24      other cases around the country?
25                      MR. TARNEY: They are named in 34 cases by
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 11 of 54. PageID #: 42
                                                                          11


1       our last count in cases that are either in the MDL or
2       subject to the conditional transferor order.
3                       THE COURT: All right. Are there other
4       individual doctors that have been sued in other cases to
5       anyone's knowledge?
6                       MR. MANDEL: Yes, your Honor. Actually --
7       this is Aaron Mandel. I am in St. Louis, and we
8       represent an individual physician in a case pending
9       here.
10                      THE COURT: All right.
11                      MR. HANLY: Your Honor, this is Paul Hanly
12      from Simmons Hanly Conroy. I am one of the lawyers who
13      is listed on the list provided to the Court. We have a
14      doctor named in cases that were brought in Louisiana and
15      are in the process of being removed and tagged into the
16      MDL.
17                      THE COURT: All right. Well, what I am
18      going to want is those lawyers who are representing
19      physicians to caucus and decide what is best
20      organizationally, and if you want to have a separate
21      steering committee for doctors, that's okay. If you want
22      to be part of the -- if the manufacturers and the
23      distributors are proposing one Joint one and you just
24      want to have a representative on that, that's fine.
25                      And that may be -- I mean, candidly, it may
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 12 of 54. PageID #: 43
                                                                          12


1       be best to have one defense steering committee, and just
2       make sure you've got at least one representative of the
3       manufacturers, one representative of the distributors,
4       and one representative of the physicians because I am
5       trying to deal with this as an organic hole.
6                       I mean, there are pieces, but since many of
7       the defendants are in large numbers of cases, if I meet
8       with a steering committee, I am going to meet with the
9       steering committee. So it is probably best to have one
10      defense steering committee with individual members.
11                      Okay. And then, I guess when -- I will say
12      the same thing. When the defendants have caucused and
13      you have a proposal, just send me a motion or a motion,
14      recommendation, whatever. And again, I can't imagine I
15      am not going to approve it unless I see someone objects
16      to it. You are going to have to serve it, and if someone
17      objects, I will certainly look at the objection. I think
18      that's the way I will do it.
19                      If someone objects to either what I get from
20      the plaintiffs or I get from the defendants, I will
21      certainly look at that lawyers' objection and try and
22      deal with it. If I get no objections, I am going to
23      adopt those proposals.
24                      Okay. All right. The second item, I know
25      -- oh, right. My law clerk, Mary Hughes, has reminded me
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 13 of 54. PageID #: 44
                                                                          13


1       I will want to have liaison counsel that I can get hold
2       of very quickly sort of for organization purposes, to
3       distribute information, whatever, things come up. Those
4       of you who have been in MDL know that they come up.
5                       So I will want a very small number from the
6       plaintiffs' side. You know, we are not talking like
7       probably no more than two or three from the plaintiffs'
8       side and two or three from the defendants' side. The
9       reason I am suggesting more than one, I mean, someone
10      could be tied up in court or out of the country or
11      whatever. So it is good to have two or three. But
12      that's what I am talking about.
13                      LAW CLERK HUGHES: And if there are two and
14      one of them can't get on the phone, the other one will be
15      able to take the call.
16                      THE COURT: Yeah. Right. If I can't reach
17      one, I can reach the other. That's the idea. I
18      understand and am not expecting everyone to be tethered
19      to their phone. Everyone is busy, and people have
20      personal lives. So why don't you aim for three liaison
21      counsel for the plaintiffs and three for the defendants
22      unless someone has a strong -- strongly feels there
23      should be more than that. Okay.
24                      MR. CHEFFO: For the defense, from the
25      manufacturers, that sounds like a good idea, your Honor,
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 14 of 54. PageID #: 45
                                                                          14


1       and we will do that.
2                       THE COURT: Okay. Thanks, Mark.
3                       MR. WEINBERGER: Your Honor, from the
4       plaintiffs, Peter Weinberger --
5                       THE COURT: Yes, Pete.
6                       MR. WEINBERGER: -- I think your suggestion
7       of three liaison counsel is a good one, and we will
8       certainly work with that number.
9                       THE COURT: Okay.
10                      MR. WEINBERGER: Thank you.
11                      THE COURT: Okay. All right.
12                      The second item -- and again, I don't think
13      we are going to resolve this today, but it certainly is
14      out there -- I know in my four or five cases, there are
15      motions to remand based on the same argument defendants
16      argued, that the distributor defendants were improperly
17      or unnecessarily joined to defeat diversity, and that
18      they don't need to be in the case.
19                      And if they are not, well, they were removed
20      on that basis, they were removed on the basis that the
21      distributors didn't need to be in the case, and if they
22      were out of the case, there is complete diversity, and
23      they can be in federal court.
24                      The plaintiffs said, look, we brought the
25      case. We have alleged a conspiracy between the
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 15 of 54. PageID #: 46
                                                                          15


1       manufacturers and distributors, and it is our case, and
2       we have a right to try and prove it. I am sure there are
3       similar motions around the country.
4                       My thought is to just leave them hanging for
5       a while. The cases are in the MDL, and my objective is
6       to get my hands around this and see if there is some --
7       maybe some framework for some resolution, and if so, it
8       is much more preferable to have more cases in the MDL,
9       the more the better, rather than having them out there in
10      individual state courts where there can't be any
11      coordination.
12                      So it was my thought just to not do anything
13      with those motions to remand at the present time, but
14      again, we have got smart lawyers, a lot of them. So I
15      will hear from anyone who wants to talk about that.
16                      MR. PETERSON: Your Honor, Jim Peterson
17      speaking in regards briefly to this second agenda item.
18      Thanks to Lee Javins and Jennifer Connolly, who I believe
19      are on the phone, they have endeavored to put forward an
20      exhaustive list of remand motions together with the
21      procedural posture.
22                      And it appears we have, at least on these
23      lists, we have 17 that are in remand, and of the 17, one
24      involves federal question, and the other 16 involve
25      fraudulently misjoinders. So those are the issues, and
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 16 of 54. PageID #: 47
                                                                          16


1       of course, your Honor, we do have requests from I think
2       approximately one, two, three, four, five individuals to
3       address any remand issue the Court would care to discuss
4       today.
5                       We have Attorney Generals, we have cities,
6       we have counties and states involved in these remands so
7       there is some different types of dynamics going on here.
8       So I leave it up to the Court.
9                       THE COURT: Well, I understand. Thank you,
10      Jim.
11                      The point is this: I understand that most
12      of the plaintiffs sought an MDL. If you want an MDL,
13      that means you want your cases in here. The purpose of
14      the MDL is to coordinate discovery, avoid a lot of
15      duplication and expense, and explore all possibilities
16      for some global resolution with cases, you know, parceled
17      out all over the country in individual state courts,
18      that's not possible.
19                      So I am assuming that plaintiffs want to be
20      in the MDL, and candidly, I don't think too many
21      distributors defendants want to be cut loose and have a
22      separate case proceeding against them in 17 different
23      states, which would be the result. I mean, if I were to
24      say that someone is fraudulently joined, the case isn't
25      dismissed.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 17 of 54. PageID #: 48
                                                                          17


1                       Somehow, you know, that part of the case
2       gets sent to state court, so you got half the case in
3       federal court, half in state court. So it is my thought
4       just to keep those pending. Everyone is here, and we
5       will see what we can do, and if, you know, if I have got
6       to deal with them in the future, I will figure out some
7       way to deal with them but not to worry about that now.
8                       MR. CHEFFO: Your Honor, this is Mark Cheffo
9       again. Just briefly, we agree with that analysis
10      completely for a few different reasons. One is, there is
11      some overlapping claims. There are some that are
12      different. There are still cases that are being
13      transferred. Some of them have been stayed.
14                      There is -- some of these motions haven't
15      been fully briefed, and for the reasons you were
16      articulating, frankly, seeing, number one, in terms of
17      counsel, you know, we do believe to the extent that in
18      our experience in these MDLs there is very good lawyers
19      on this phone, hopefully from both sides, we know many of
20      them, but having people who are fully committed to the
21      MDL -- we are -- we think this should be the center where
22      discovery and discussions about how the cases proceed or
23      potential resolution, all of those issues are kind of
24      best centered here.
25                      And we think both for the remand issues that
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 18 of 54. PageID #: 49
                                                                          18


1       your Honor articulated and, frankly, for even as factors
2       of consideration of who should be leading it, it should
3       be folks, again, who are fully committed to this Court
4       and your Honor as opposed to some other places where it
5       may be less easy to reach some of these interviews and
6       efficiencies that your Honor has talked about.
7                       MS. MAINIGI: Your Honor, this is Enu
8       Mainigi on behalf of the Big Three distributors, and we
9       again agree with Mr. Cheffo. I think certainly what your
10      Honor said makes good sense for the time being, at least,
11      until we kind of get a lay of the land and leadership
12      teams are performed, just look with good intent leaving
13      the cases that are subject to remand decision here in the
14      MDL.
15                      MR. TARNEY: This is Tyler Tarney on behalf
16      of the physician defendants. We completely agree with
17      the reasons articulated by the Court as the manufacturers
18      and the distributors.
19                      THE COURT: All right. Anyone want to speak
20      for the plaintiffs on that?
21                      MR. JAVINS: Lee Javins on behalf of the
22      State of West Virginia, and I heard your -- you
23      characterized your discussion of the cases, and it is
24      true, there are 17 remands. Sixteen remands -- there
25      will be more, I am sure -- based on diversity arising out
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 19 of 54. PageID #: 50
                                                                          19


1       of fraudulent joinder. I am simply here to say that the
2       state of West Virginia is an outlier, and I don't know
3       that it is appropriate for the West Virginia case to be
4       in the mix because of the federal question that has been
5       remanded once.
6                       So I don't need to discuss the merits.
7       Judge Copenhaver did, improper remand, and it is not even
8       timely. And the truth of the matter is, Judge Favor
9       simply didn't get to rule on it, then briefed, and has
10      been argued. So respectfully, on behalf of the state, I
11      would ask that the federal question remand be put maybe
12      on a separate track or be subject to a separate analysis
13      because --
14                      THE COURT: All right. Well, I agree,
15      that's different. And if there is no -- I gather there
16      is no diversity, so it is in federal court on federal
17      question, or it is not. It seems to me that if the judge
18      has already ruled on it he should rule on it again if it
19      is the same thing.
20                      MR. JAVINS: Well, the problem is, Judge
21      Copenhaver ruled on it the first time and said there is
22      no federal question, and then there came a number of
23      these cases filed in the Southern District of West
24      Virginia. And so McKesson filed a second remand of the
25      same federal question, and it was lumped as related, and
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 20 of 54. PageID #: 51
                                                                          20


1       so Judge Favor --
2                       THE COURT: You mean a removal?
3                       MR. JAVINS: I'm sorry. A removal, yes. It
4       was removed a second time in front of a different judge,
5       and he simply hasn't -- we even had an expedited
6       argument, and he simply didn't rule. But whether -- you
7       know, currently, the ball is in your Court. That's the
8       reason I am bringing it up. And --
9                       THE COURT: I will tell you what. I think I
10      am going to send that case back to West Virginia just for
11      ruling on that.
12                      MR. JAVINS: Okay.
13                      THE COURT: Because a judge in that Court
14      has already made a ruling.
15                      MR. JAVINS: Correct.
16                      THE COURT: So I am going to exercise my
17      discretion and send that case back -- if you can give me
18      the name or the caption.
19                      MR. JAVINS: I would be prepared to chart
20      for you, your Honor, it is state of West Virginia versus
21      McKesson.
22                      LAW CLERK HUGHES: We have got it.
23                      THE COURT: We have it. All right. I am
24      going to send that one alone back to the district of
25      West Virginia for ruling on this simple question on the
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 21 of 54. PageID #: 52
                                                                          21


1       federal question and the removal and remand.
2                       MR. JAVINS: Okay.
3                       THE COURT: And if the Judge decides that it
4       is properly in federal court, then it is going to be
5       transferred into the MDL.
6                       MR. JAVINS: I understand.
7                       THE COURT: If the Judge decides it is not
8       in federal court at all, it has got to go back to the
9       state court in West Virginia, and it is not in the MDL.
10      And there are cases -- I know there is an Ohio case that
11      Attorney General DeWine brought that I believe is in Ross
12      County. So there are cases in state court, and
13      presumably they will state there. All right. Thank you.
14                      MR. JAVINS: Thank you, your Honor.
15                      THE COURT: So that's what I will do.
16                      Item 3 --
17                      MR. YOUNG: Your Honor, this is James Young
18      on behalf of some West Virginia cases. I apologize, I
19      was waiting to see if perspective speakers 2 through 4
20      jumped in there on the remand motions.
21                      I get a sense that the train is leaving the
22      station, so I won't belabor the point, but I do just want
23      to mention we specifically availed ourselves of state
24      court in West Virginia, and we amended our complaint to
25      include a West Virginia entity that is a bit of a unique
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 22 of 54. PageID #: 53
                                                                          22


1       statutory structure and factual background in West
2       Virginia, that is, the State Board of Pharmacy. And
3       those remand motions were argued before Judge Favor, and
4       a ruling on them was pending. I think it was back in
5       October, and of course, the MDL was created.
6                       So I would distinguish our cases a bit from
7       the other cases that your Honor referenced in that we did
8       not petition to create the MDL. We actually filed a
9       petition in opposition to it, and we would like to get
10      back to West Virginia. And West Virginia has an ability
11      to conduct coordinated discovery between and among state
12      court plaintiffs through the MDL process, and we would be
13      willing to submit to coordination with the MDL once back
14      in state court. I just want to get that on the record.
15                      THE COURT: All right. Well, I understand
16      it. I am going to keep that case here for the time
17      being. I have limited time and limited staff, and I just
18      don't want to be tied up on individual remand motions at
19      the moment. If I have to deal with them in the future, I
20      will. So I want to see what we are going to do with this
21      constellation of cases.
22                      All right. A big issue is whether it is
23      going to be possible to keep in this MDL the three large
24      categories that we have. We have got the government
25      entity cases. Those are here. They are staying. The
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 23 of 54. PageID #: 54
                                                                          23


1       issue in my mind, it is an open question on the other
2       institutions and the individual plaintiffs. So I wasn't
3       going to come to a resolution today, but I want everyone
4       thinking about that. And, you know, if people have some
5       preliminary thoughts, we can talk about it for a few
6       minutes.
7                       MR. WEINBERGER: Your Honor, this is Peter
8       Weinberger, the plaintiffs. It is our suggestion -- it
9       is my suggestion, and I think others would join in --
10      that we deal with this issue as part of our group meeting
11      that hopefully will take place this coming Monday from
12      the perspective of understanding what the Court has said,
13      and we agree that there are some unique issues associated
14      with the non governmental entities and the individuals'
15      cases.
16                      And do one of two things: Either, one,
17      arrive at a consensus to provide the Court with a
18      position on this or -- and more likely -- select some
19      leaders from the plaintiffs' group, who will then address
20      this perhaps starting with a meet and confer with defense
21      counsel but then have an opportunity to report back to
22      the Court so that we are in a position by the January 9th
23      hearing to address this with the Court.
24                      THE COURT: All right. I think that's an
25      excellent suggestion, Pete, because again, the MDL panel
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 24 of 54. PageID #: 55
                                                                          24


1       left this open, and I am not looking to just, you know,
2       throw out cases or throw them back around the country
3       because of the logistics problem. But I want to make
4       sure that I can manage what I have got effectively, and
5       that if I keep them all, there are enough commonalities
6       that it makes sense. So why don't you confer, and
7       defense counsel should confer, and then you can confer
8       together, and we will certainly discuss that in January.
9                       Anyone else have anything sort of different
10      to say on that?
11                      MR. DUGAN: Judge Polster, this is
12      James Dugan with the Dugan law firm in New Orleans.
13                      THE COURT: Yes, James.
14                      MR. DUGAN: Thanks for putting this call
15      together and giving everyone an opportunity to speak. I
16      have filed class actions on behalf of what we call
17      private third-party payers. They are health and welfare
18      funds --
19                      THE COURT: Right.
20                      MR. DUGAN: -- that they pay for
21      prescription costs for their members. We filed one in
22      Boston, a nationwide class, two in the Eastern District
23      of Pennsylvania, also class actions. To my knowledge,
24      there is a fourth case filed in the Eastern District of
25      Pennsylvania in front of Judge Savage, and then there is
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 25 of 54. PageID #: 56
                                                                          25


1       one filed in Ohio --
2                       THE COURT: I have got one.
3                       MR. DUGAN: It is an Ohio only class. We
4       had filed an interested party response in support of
5       Judge Savage in the Eastern District of Pennsylvania. We
6       are also open to discussing whatever your Honor as the
7       MDL Court uses as his discretion about how to organize
8       these cases. There is precedent for having different
9       MDLs.
10                      For example, in the Neurontin litigation,
11      which Mr. Cheffo was also involved and Mr. Barrett and
12      also Mr. Berman on this phone were involved, there was a
13      marketing MDL in front of Judge Saris in Boston, and then
14      there was also an antitrust MDL in New Jersey, both on
15      behalf of the drug Neurontin, but the claims were
16      different. So there is certain precedent for having
17      separate MDLs.
18                      At this point, obviously, it is a short time
19      frame, and we are trying to organize, but I think my
20      particular group is six firms. There is probably another
21      four or five firms out there doing these types of cases,
22      and we would like an opportunity, we will participate in
23      the organizational process, but I would assume we will
24      also have some type of decision and recommendation with
25      options for your Honor.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 26 of 54. PageID #: 57
                                                                          26


1                       THE COURT: All right. Thank you, James. I
2       mean, you know, we can have two or three tracks in the
3       same MDL. If there are a lot of similar issues in
4       discovery and liability, it may make sense for me to keep
5       them all. If they are really radically different, then
6       there certainly is an option for a second or even a third
7       MDL. But that's something I will listen carefully to,
8       what all of you propose.
9                       MR. DUGAN: Thank you, your Honor.
10                      MR. CHEFFO: This is Mark Cheffo. Briefly,
11      we agree with counsel that we should meet and confer on
12      this. To the extent your Honor wants our kind of
13      preliminary view from a manufacturers' perspective, we
14      think this can be handled by your Honor using separate
15      tracks. We have worked cooperatively with all of these
16      folks.
17                      We think that, particularly as to these
18      third-party payer type claims, they are very similar in
19      terms of discovery, and they can be managed most
20      effectively. Admittedly, some of the personal injury
21      type cases are a little different than the others. We
22      recognize that, but we still think that we will be able
23      to have a plan that will make it most efficient, but I
24      don't want to be presumptuous. I haven't given a chance
25      for the plaintiffs to weigh in on it, but that's our
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 27 of 54. PageID #: 58
                                                                          27


1       initial thinking, but we are certainly open to hearing
2       what they have to say in making this most efficient.
3                       THE COURT: Okay. Well, again, that's why I
4       -- quite frankly, that's why I wanted to set up this
5       phone call early. I don't have the answers. I think I
6       have got most of the questions, but again, there is an
7       incredible amount of experience on the other end of the
8       line. I have some experience, but it is dwarfed by all
9       of your collective experience, so I am looking to you.
10                      I am definitely contemplating appointing a
11      special master in this case. I am going to need some
12      help. I may or may not request that the Sixth Circuit
13      consider giving me an emergency law clerk, but one, I
14      have no idea what funds are available, and I think the
15      help I need is not so much from a law clerk at this
16      point; it is from a special master.
17                      So I wanted to pick someone I am experienced
18      with and comfortable with who is experienced. So unless
19      there is a strong objection from anyone, I am going to
20      appoint someone, and the cost would be split between the
21      plaintiffs and the defendants, which is how it has worked
22      in the other MDL when I had one. So does anyone have a
23      problem with that?
24                      MR. WEINBERGER: Your Honor, this is
25      Peter Weinberger on behalf of the plaintiffs' side. You
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 28 of 54. PageID #: 59
                                                                          28


1       know, it is clear from the way that your Honor is
2       expressing himself and communicating with us that the
3       Court understands, as we all do from the plaintiffs'
4       perspective, the importance of this case and the opioid
5       epidemic that is affecting our nation.
6                       So anything that the Court wants to do to
7       expedite this matter, including the appointment of a
8       special master, is certainly something that we are very
9       interested in, and I want the Court to know also that, as
10      indicated, you know, we have three lawyers who are
11      designated speakers: Joe Rice, Paul Hanly, and
12      Paul Farrell who have a wealth of experience not only in
13      MDLs but in this particular case.
14                      Some of these gentlemen have already been
15      litigating this case for a long time. So while there is
16      an interest in expediting this, there is also a
17      realization that the breadth, the scope of these claims
18      as well as the potential damages is astounding, and to
19      the extent that a special master can help us sort out
20      some of those issues with the Court, we are all in favor.
21                      Obviously, the Court, if the Court has a
22      special master in mind, we are all ears to hear it. We
23      also would be prepared to discuss this issue on the 18th,
24      and perhaps have one or two people designated to confer
25      with the other side as well as with the Court on
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 29 of 54. PageID #: 60
                                                                          29


1       potential special masters who we believe have the
2       expertise necessary to assist on this very important
3       case.
4                       MR. CHEFFO: Your Honor, this is Mark
5       Cheffo. Just briefly, we agree with your Honor's
6       suggestion. We think it makes sense in a case like this,
7       and frankly, from the manufacturers' perspective, we
8       would be governed by the person that you think would be
9       best situated to assist the Court.
10                      MS. MAINIGI: Your Honor, Enu Mainigi on
11      behalf of the Big Three distributors. We have no
12      objection if your Honor would like to appoint a special
13      master.
14                      THE COURT: All right.
15                      MR. TARNEY: Tyler Tarney on behalf of the
16      physician defendants, we have no objection to a special
17      master.
18                      THE COURT: All right. Well --
19                      MR. SHKOLNIK: Your Honor, this is
20      Hunter Schkolnik, if I can just add something on that --
21                      THE COURT: Yes.
22                      MR. SHKOLNIK: -- we worked very closely
23      with a special master in the Minnesota MDL, and the point
24      I just want to bring up, I think it is important to have
25      someone local, much like you want to have local liaison
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 30 of 54. PageID #: 61
                                                                          30


1       counsel, a special master, who is local to Cleveland, not
2       just Ohio; that the Court could entrust such important
3       matters as this in a major case like this.
4                       THE COURT: Well, Hunter, that's a factor,
5       but if I think that the best person is not in Cleveland,
6       I would go with the best person. But that certainly --
7       there is a big plus to have someone who I can sit down
8       with any day I want to at the drop of a hat. That
9       certainly is a big plus. All right.
10                      This is what I would like to do, is I would
11      say by next Monday, that's the 18th, if anyone wants to
12      make any suggestions, they can do so.
13                      LAW CLERK HUGHES: How about after the
14      Monday meeting like Wednesday?
15                      THE COURT: Well, right. Why don't we say
16      this: Pete, how long do you think your meetings are
17      going to go, two days? You know, what are you figuring?
18                      MR. WEINBERGER: Your Honor, it is our hope
19      that we will be able to meet the afternoon of Monday, the
20      18th, and conclude at that time.
21                      THE COURT: All right. Well, why don't we
22      just say that by --
23                      LAW CLERK HUGHES: Wednesday at noon.
24                      THE COURT: -- by Wednesday, the 20th, at
25      noon. So that's a week from today, Wednesday, 12-20 at
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 31 of 54. PageID #: 62
                                                                          31


1       noon. If there are any -- and I guess I would suggest it
2       makes sense for the plaintiffs and defendants to concur.
3       If you jointly have any individuals to recommend, that's
4       fine. If you can't come -- you know, if you -- so
5       whatever way you want to get them to me, that's fine.
6       And I will consider anyone you suggest, and ultimately, I
7       will make a decision. So it may be someone you have
8       recommended; it may not be, but I will certainly consider
9       it.
10                      MR. WEINBERGER: Your Honor, Peter
11      Weinberger again. That timetable will work out great and
12      give us the 19th to meet and confer with defense counsel
13      and then submit either agreed upon names or not to the
14      Court by Wednesday.
15                      THE COURT: Okay. Thank you.
16                      LAW CLERK HUGHES: And also, can they file a
17      motion to approve the liaison counsel and the committees
18      by Wednesday at noon, one of the reasons they are
19      meeting?
20                      THE COURT: Well, yeah. I assume, Pete,
21      that by Wednesday at noon you'd -- you will have your
22      recommendations for liaison and steering committee. Is
23      that right?
24                      MR. WEINBERGER: Your Honor, Peter
25      Weinberger. Your Honor, I am hopeful that that will be
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 32 of 54. PageID #: 63
                                                                          32


1       the case, but as you can hear, as you know from the
2       number of people involved from the plaintiffs' side, we
3       have a lot of people that we need to meet with, and from
4       everything that I've heard so far, we are a collegial
5       group.
6                       We all are of one mind in terms of
7       importance of this case and the importance of
8       cooperation. So with all of that in mind, it is my hope
9       that we will be in a position to provide you with a
10      motion after our meeting on the 18th.
11                      THE COURT: Well, that would be my hope. I
12      don't want to mess up anyone's holidays, and I realize
13      two weeks after that no one is going to be -- everyone is
14      going to be out and about and celebrating their holidays
15      and that's fine. So I would like to get that by noon on
16      the 20th, and the same thing from the defendants' side
17      also, I mean, if at all possible. If it takes longer, it
18      takes longer. Again, I want you to be thoughtful about
19      it and make sure you include the people who need to.
20                      Liaison and steering. Okay. All right. It
21      is my hope to have an in-person meeting on Tuesday,
22      January 9th if everyone thinks that they will be ready,
23      and if you have think that's too early, I will hear from
24      you on that because there is a lot of people coming and a
25      lot of expense and a lot of inconvenience, and it would
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 33 of 54. PageID #: 64
                                                                          33


1       be my intention to have client representatives there,
2       too, because I want them to be involved, and I want to
3       speak to them, and I want to hear from them.
4                       I mean, this is an unusual case because
5       sometimes in an MDL from the plaintiffs' side, it is
6       really attorney driven because you have a large number of
7       wholly unrelated plaintiffs. The only common thing they
8       have is, they feel they have suffered an injury from the
9       defendants' product. But here we have government
10      entities who are headed my mayors and commissioners,
11      county executives, governors. We have got large pension
12      funds with executives and boards. It is different. So I
13      would want those people. So do you think that Tuesday,
14      January 9th, is -- is it too early?
15                      I mean, this is a case -- look, we all know
16      and I should have said at the outset -- everyone knows
17      about this case. I have heard, people have called me,
18      non lawyers around the country, congratulations or
19      condolences, and so everyone is looking at this. And so
20      I want to move this as efficiently as I can, but I also
21      know that if you try to move too fast, you don't do it
22      thoroughly and effectively. So what do you think on
23      that.
24                      MR. WEINBERGER: Your Honor, this is
25      Peter Weinberger again. Let me, off the top of my head,
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 34 of 54. PageID #: 65
                                                                          34


1       react to what you said.
2                       The date of January 9th, of course, has been
3       out there for counsel for, at least, three or four days
4       now, and I am assuming, at least as far as counsel is
5       concerned, those that want to be in Cleveland on the
6       9th have already set aside the time and have arranged for
7       travel, et cetera. It is a whole different situation if
8       you want representatives of the various political
9       subdivisions and other plaintiffs actually in Court.
10                      I am also trying to think of the logistics
11      of all that as far as the Court is concerned. So I don't
12      think people, having knowledge of your January 9th date,
13      contemplated that this would include clients. And so I
14      am wondering, your Honor, if perhaps that couldn't be a
15      matter for us to discuss from the plaintiffs' side on
16      Monday, the 18th, and then report back to you with the
17      thought of, well, the 9th logically is a little too soon,
18      let's try for a date maybe two or three weeks beyond that
19      or the 9th will work. I don't think people are in a
20      position at this point to address this specifically now
21      because I don't think people contemplated that this was
22      how you wanted to run the first meeting.
23                      THE COURT: Well, you know, Pete, what you
24      just said, I have an additional thought to throw out, and
25      again, you don't have to decide this today, this may be a
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 35 of 54. PageID #: 66
                                                                          35


1       case where, in addition to having attorney steering
2       committees, that maybe there would be client steering
3       committees, that there be among the plaintiffs all this
4       disparate cities, counties, states, there be a small
5       group of officials who would be the clients' steering
6       committee and could address important things on behalf of
7       the group, and that there be some number of -- you know,
8       whether it is mayors, county executives, commissioners,
9       governors, attorneys general, I don't know who would do
10      that, and maybe there would be a small group of what I
11      will call third-party institutions.
12                      MR. CHEFFO: Your Honor, this is Mark
13      Cheffo. I know that your Honor --
14                      THE COURT: And maybe the manufacturers -- I
15      mean, how many -- there are what, 10 or 15 manufacturers?
16      I didn't add them up but --
17                      MR. CHEFFO: About, your Honor. This is
18      Mark Cheffo, and I am brainstorming as I hear your Honor
19      and welcoming this. One option might be -- and point
20      well taken -- obviously, your Honor wants participation
21      on both sides, but there is also logistics issues. So
22      maybe one kind of midway solution, if it would be
23      agreeable to the Court, is to keep the date of the 9th
24      and have kind of a lawyer meeting so we can work through
25      some of these procedural aspects and some of the initial
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 36 of 54. PageID #: 67
                                                                          36


1       issues that we've discussed, and then keep in mind that
2       your Honor wants a subsequent meeting with a little more
3       lead time to decide how it is staffed with various
4       participants or whether it is necessary to have a
5       committee as you have suggested.
6                       MR. WEINBERGER: Your Honor, this is
7       Pete Weinberger again. Mark, I think that's an excellent
8       suggestion, and it makes a lot of sense.
9                       THE COURT: All right.
10                      MS. MAINIGI: Your Honor, Enu Mainigi on
11      behalf of the distributors, the Big Three distributors, I
12      think that does make a lot of sense. We have had the
13      date set aside for several days, and because there are
14      some procedural issues to work through, I think a working
15      meeting with your Honor on the 9th in person would be
16      very productive for all of us and then, certainly, your
17      Honor could either at that time or prior set a date for a
18      meeting that could involve clients. It gives all of them
19      a bit more notice and ability to arrange for schedules to
20      attend.
21                      MR. TARNEY: Tyler Tarney on behalf of the
22      physician defendants, we agree with that as well.
23                      THE COURT: All right. That may be what we
24      do. I want you to explore the idea I threw out of client
25      -- for want of a better term -- client steering groups or
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 37 of 54. PageID #: 68
                                                                          37


1       committees because I think it may be beneficial, and I am
2       mindful of everyone's time. And why don't you discuss
3       that? And you can report back as to whether that makes
4       sense.
5                       LAW CLERK HUGHES: The January 9th date for
6       lawyers only and then a subsequent date?
7                       THE COURT: Well, when we start involving
8       clients, whether there should be a committee, that there
9       would be the client reps that would come regularly as
10      opposed to requiring every governor or mayor or whatever
11      to come every time and every pension fund, to send their
12      key person and every manufacturer to send their person.
13      So you can explore that. And that sort of leads into the
14      last.
15                      LAW CLERK HUGHES: Look at my note.
16                      (Pause.)
17                      THE COURT: The last subject was the
18      possibility of exploring early resolution. I mean, I
19      have had two substantial MDLs, and I know that you can't
20      try your way out of them, even though we have excellent
21      lawyers. You know, I have used bellwethers, and it
22      sounds good in concept, but they don't always work for
23      various reasons.
24                      And this is a case where I think from both
25      sides there is some good reasons to seriously explore
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 38 of 54. PageID #: 69
                                                                          38


1       some early resolution. And so I am throwing it out, and
2       I was certainly going to discuss this in greater detail
3       on January the 9th. So what I would like everyone, you
4       know, people have some great ideas now they want to raise
5       or just keep them privately, my plan on the 9th is to
6       have some separate discussions with the plaintiffs and
7       the defendants on this area. But if there is something
8       that someone thinks we should do between now and January
9       9th I would like to hear from you.
10                      MR. WEINBERGER: Your Honor, this is
11      Peter Weinberger again. I know that this, having seen
12      this as an agenda item, that this is a matter that we are
13      going to, again, as part of our organizational meeting,
14      try to select some leaders who will talk about this
15      concept and report back to the Court on that and with
16      your clear indication to us that that is all right with
17      you and rightly so, what my preference would be, I think
18      those from the plaintiffs' side, because there are so
19      many different claims and potential damage models, some
20      of which are in the process of being explored, but you
21      know, I know that we have probably -- I could tell you
22      that we have a difference of opinion from the defendants
23      as to how pervasive a problem and the damages are, and we
24      may even have differences of opinion among us.
25                      But that having been said, we are cognizant
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 39 of 54. PageID #: 70
                                                                          39


1       of this being a priority item, and I would suggest that
2       you let us talk about this on the 18th and select a
3       couple of people to work on this issue and then report
4       back.
5                       THE COURT: That's fine.
6                       MR. RICE: Your Honor, this is Joe Rice from
7       Motley Rice. A couple things I would ask the Court to be
8       thinking about in this regard as well as the overall
9       management. I know your Honor spoke of the coordination
10      between the states and the MDL, and we all in the MDL
11      understand the importance of that, but your Honor needs
12      to be aware that there are cases, for instance,
13      Santa Clara, California, representing all the California
14      cities and counties, has been in litigation since 2014 in
15      California state court, and it is proceeding now through
16      discovery. There is a consolidation of state court cases
17      in New York that has been going on now for several months
18      that is already into discovery.
19                      And of course, there is, at least I think,
20      ten state attorney generals that have filed actions in
21      ten separate states that will remain in state courts. So
22      there is going to be some parallel state court litigation
23      that we will be having to coordinate with.
24                      In addition, and you approached the concept
25      of the special master, I would ask you to think about the
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 40 of 54. PageID #: 71
                                                                          40


1       talent pool and the selection as it relates to managing
2       what is apparently going to be a very extensive documents
3       production litigation.
4                       In our Chicago cases pending since 2014 we
5       have already had 12 million documents produced, and we
6       aren't heavily into it. So we are going to have a lot of
7       document issues that you might want a special master or
8       someone of that nature, maybe a Magistrate Judge, working
9       with this, but that might be a different skill set than a
10      special master, that would be focused on helping the
11      parties in discussing particular resolution.
12                      I just bring that to your Honor's table to
13      ask you to think about it as you are approaching some of
14      the decisions you are having to make while we will be
15      approaching the decisions in our meeting in Cleveland. I
16      have often had people ask me if this is like a tobacco
17      case, and we have said there is a bunch of similarities
18      and a bunch of differences, but I think this group is
19      going to be cooperatively working together to try to
20      address this as quickly as possible.
21                      THE COURT: All right. Thanks for those
22      points, Joe. I will certainly, as I did in my gadolinium
23      MDL, because I had a lot of parallel state cases, do my
24      best to coordinate with those judges who are managing
25      those cases, to keep them advised if we can agree on
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 41 of 54. PageID #: 72
                                                                          41


1       coordinating discovery, certainly not set dates that
2       interfere with each other. So when I get into this, I
3       will find out who those judges are, reach out to them,
4       make sure they know who I am, and they can always call
5       me. I may utilize one or more magistrate judges on our
6       Court. We have very good ones if I need help on certain
7       issues.
8                       MR. DUGAN: Judge Polster, this is
9       James Dugan again from New Orleans. I wanted to bring to
10      the Court's attention I was co-lead counsel for a class
11      of third-party payers where we settled a nationwide class
12      in front of Judge Cottle in the Southern District of New
13      York in 2008 with Perdue Pharma over the drug Oxycontin.
14      So there is also some precedent for settling at least
15      this class of entities in a class settlement. When we
16      report to the Court, I will be more than happy to give
17      more detail about that resolution that occurred.
18                      THE COURT: Okay. Thank you, Jim.
19                      MR. CHEFFO: Your Honor, this is
20      Mark Cheffo. I didn't mean to talk over your Honor.
21      Just briefly, we agree with what you outlined earlier,
22      which is that we will be certainly prepared and very
23      interested in your Honor -- obviously, your Honor has
24      given some thoughts in the case and others, so we will
25      welcome an opportunity to hear the Court's thoughts on
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 42 of 54. PageID #: 73
                                                                          42


1       that. We will come prepared to have some thoughts on our
2       own about how we might approach the early resolution
3       process and maybe some idea about what needs to be done
4       in connection with pursuing that but also some of the
5       steps we think the Court needs to address early on.
6                       No surprise, we think we have some legal
7       defenses here. Today is not the time to argue motions
8       and things like that, but we will be prepared to provide
9       some suggestions but also welcome the Court's thoughts on
10      what you think would be most efficient.
11                      THE COURT: All right. I mean, obviously
12      these are -- there are some novel theories of recovery.
13      There may be defenses to some or all of them, but again,
14      I don't think it is in anyone's interests to have this
15      dragging on for five or ten years, which it will if we
16      don't come to some resolution.
17                      It will easily go that long, and there are a
18      whole lot of reasons from both sides why that doesn't
19      make sense, and quite frankly, I think the best use of my
20      time and my abilities will be to help see if there is
21      some sort of resolution we can reach.
22                      I think that's why the MDL panel picked me.
23      I am sure there are better trial judges in the country,
24      maybe better trial judges right here in my Court, but I
25      think I was picked for that reason, and that's where I am
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 43 of 54. PageID #: 74
                                                                          43


1       going to spend my time, and I will ask other people to
2       help me on the other aspects of the case. But that part
3       I don't plan to delegate. I will be doing that myself.
4       Okay. I think I covered all six points on the agenda.
5       Let me see if I had -- oh, I had a couple factual
6       questions.
7                       Do the manufacturer or distributor
8       defendants have insurers in this case?
9                       MR. CHEFFO: This is Mark Cheffo for the
10      manufacturers.
11                      THE COURT: It may be a complicated
12      question.
13                      MR. CHEFFO: Your Honor, I think it may
14      depend on each of the different defendants. I don't know
15      the answer to that question.
16                      THE COURT: All right.
17                      MR. CHEFFO: But certainly, we can caucus
18      amongst the group and have an answer to that.
19                      THE COURT: Okay. Well --
20                      MS. MAINIGI: I concur --
21                      THE COURT: Okay.
22                      MS. MAINIGI: -- Judge Polster. I think it
23      is a defendant-by-defendant issue.
24                      THE COURT: Okay.
25                      MS. MAINIGI: But we can be prepared to
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 44 of 54. PageID #: 75
                                                                          44


1       address it on January 9th.
2                       THE COURT: All right.
3                       MR. CHEFFO: And your Honor, again, this is
4       Mark Cheffo. Just a housekeeping note if your Honor
5       could help us along with this, it will save a lot of
6       people maybe some weekends between now and the 9th. In
7       many of these MDLs, the Court is aware, the MDL judges
8       can put an order in place that suspends deadlines for
9       transfer cases so that no one is worried about filing an
10      answer or something.
11                      THE COURT: Yeah. I was going to say that.
12      I don't want anyone filing anything. Okay? I mean,
13      seriously, other than the things we've talked about, I
14      don't want any more motions to remand. I don't think we
15      need -- it is a good point. I suspended a bunch of
16      answers in my case until the MDL was created, which has
17      been -- which obviously has been created.
18                      LAW CLERK HUGHES: 60 days.
19                      THE COURT: Unless there is a strong
20      objection, I am just going to put a moratorium on filings
21      for 60 days. Does anyone have a problem with that?
22                      MR. WEINBERGER: Your Honor, this is
23      Peter Weinberger. Thank you for raising that because --
24                      THE COURT: Well, I didn't. I had
25      forgotten, and Mark reminded me.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 45 of 54. PageID #: 76
                                                                          45


1                       MR. WEINBERGER: So the other issue -- and
2       Paul Farrell can address this directly -- but it has to
3       do with the Rule 4 requirement of service within 90 days.
4       We know that there are a number of cases where we have
5       not been able to obtain an agreement of waiver of
6       service, and in fact, there are some international
7       defendants where we have had no ability to communicate.
8                       We know there are a number of cases where we
9       have the 90 days coming up on, I think, January 8th, 9th,
10      or 10th. And so to the extent that the Court is willing
11      to do that, do this, if we could get an extension on
12      that, I think that's in line with what the Court is
13      saying in terms of not filing any answers. I think that
14      will help us a lot, and obviously, we would be interested
15      in what the defense has to say about that. So what does
16      the Court please in terms of that issue?
17                      THE COURT: Well, I hadn't even thought
18      about that, Pete. I mean, I would strongly encourage
19      counsel to just work out the service issues. I don't
20      want to spend a lot of time and money for anyone on this.
21      You should waive -- a number of defendants have been
22      served. No one is hiding. These manufacturers aren't
23      hiding. The distributors aren't hiding.
24                      So if you want me to put -- grant an
25      extension, Pete, is that what you are suggesting, I
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 46 of 54. PageID #: 77
                                                                          46


1       extend the service deadline for 60 days?
2                       MR. WEINBERGER: Yes, your Honor.
3       Paul Farrell, do you want to address this in any more
4       detail?
5                       MR. FARRELL: Yes. This is Paul Farrell.
6       Judge, Rule 4(m) is the rule that includes the 90-day
7       deadline, and it also includes the ability for the Court
8       to issue an extension for good cause shown. So there are
9       just a number of deadlines between the CTOs and where it
10      is coming from the other transferor courts, we would just
11      ask for you to be open minded in giving us some leeway to
12      effectuate waiver of service for the most part with the
13      inventory that my group has.
14                      The manufacturers and distributors have been
15      extremely cooperative. We just have a number of cases
16      that have been filed and are getting filed. So we have
17      been waiting for this call and for this MDL, and we would
18      ask for a little bit of leeway in effectuating service?
19                      THE COURT: Well, what if I just extend the
20      service deadline for 60 days? Whatever it is, you got 60
21      days more. So Pete, if it was January 8th, that makes it
22      March 8th or March 7th, something like that.
23                      MR. WEINBERGER: Your Honor, this is
24      Pete Weinberger. Yes, I think that would be great from
25      our perspective.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 47 of 54. PageID #: 78
                                                                          47


1                       THE COURT: And I am going to put a
2       moratorium on all filings, case filings for 60 days.
3                       LAW CLERK HUGHES: Except for the motions
4       that they are going to be filing, the motions for the
5       liaison counsel.
6                       THE COURT: I mean, substantive motions, to
7       put a moratorium. Okay. All right. Was there anything
8       else that I left out or that someone wants to raise, that
9       they think would be productive?
10                      MS. FREEMAN CAPPIO: Your Honor, this is
11      Gretchen Freeman Cappio from Keller Rohrback for the city
12      of Tacoma. And I just want to mention that we just
13      learned about this hearing yesterday and got the agenda
14      today, so we have not yet had a chance to meet and confer
15      prior to today's hearing, and we definitely understand
16      there were instructions to contact all the attorneys.
17                      THE COURT: All right. I am sorry you are
18      breaking up, and I can't hear you.
19                      MS. FREEMAN CAPPIO: Can you hear me now?
20                      THE COURT: Yes.
21                      MS. FREEMAN CAPPIO: We wanted to advise the
22      Court that based on what we have heard some parties have
23      still not been notified of this hearing today.
24                      THE COURT: Well, I apologize. Cases were
25      being filed very quickly, and we did the best we could.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 48 of 54. PageID #: 79
                                                                          48


1       There will be a transcript of this, and one of the
2       reasons I wanted a court reporter is obviously so I could
3       refer to it, but if any counsel wasn't able to be on,
4       they could get a full transcript.
5                       MS. FREEMAN CAPPIO: Thank you very much,
6       your Honor.
7                       LAW CLERK HUGHES: Tell them the court
8       reporter's name.
9                       THE COURT: All right. The court reporter
10      is George Staiduhar, S-t-a-i-d-u-h-a-r. Okay. Anyone
11      else want to raise anything?
12                      MR. DANIEL: Your Honor, this is
13      Nixon Daniel. I represent a hospital plaintiff that
14      filed in the Northern District of Florida and also an
15      Indian Tribe, the St. Croix Indians in Wisconsin. Your
16      Honor's request, as far as the January 9 hearing is
17      concerned, do you want us to talk to hospital clients and
18      Indian Tribe clients and have them represented at that
19      hearing for January 9th?
20                      THE COURT: No. Nixon, we are just going to
21      have lawyers. The hospital, obviously, you are
22      institutional. The Indian Tribes -- that may be a fourth
23      category. Is that on behalf of a group of individuals in
24      the Tribe?
25                      MR. DANIEL: No, sir. We represent an
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 49 of 54. PageID #: 80
                                                                          49


1       Indian Tribe, the St. Croix Indians, and that case was
2       filed in the Western District of Wisconsin. We
3       anticipate filing a number of lawsuits on behalf of
4       Indian Tribes themselves.
5                       And we do think that that's a separate track
6       just like the hospital track is going to be a separate
7       track. We don't think it is going to be subject to class
8       determination at the hospital level, so we think that's
9       going to be a separate track, too, and we represent a
10      number of hospitals that have already filed, and some
11      that we have not filed yet.
12                      THE COURT: Well, the hospitals are a lot
13      like the pension funds. What are the Indian Tribes
14      claiming?
15                      MR. DANIEL: The Indian Tribe claims are
16      very similar to a combination of all the other claims.
17      The local government entity claims that deal with law
18      enforcement and that kind of thing, the Indian Tribes
19      have those kinds of claims. They also have healthcare
20      kind of claims.
21                      Actually, the hospital claims are a little
22      different from the insurer type claims because they
23      provide not -- they provide the care, which has been
24      unreimbursed. The Indian Tribe has that kind of claim.
25      In addition, they have claims where they act as a
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 50 of 54. PageID #: 81
                                                                          50


1       self-insurer for Tribe members. So they are actually a
2       microcosm of all of the claims.
3                       THE COURT: Okay. Well, we didn't have any
4       of those in Ohio, Nixon, so I was not familiar with that.
5       Well, that's something for -- all right. The hospital,
6       that may be a separate group. I don't know how many
7       hospitals we have got and how many Native American
8       Tribes. That's a new one, and that has elements of all
9       the other groups. I think you are right. So we will
10      have to figure out what to do with those. So I am open
11      to suggestions. All right.
12                      MR. DANIEL: Yes, sir.
13                      THE COURT: So just to summarize, and
14      obviously, I will get an order out by Wednesday, next
15      Wednesday, December 20th at noon, I will get any
16      recommendations on candidates for special master and
17      hopefully the motions, recommendations from each side for
18      liaison counsel and steering committee, and then we will
19      have an attorneys only conference on Tuesday, January the
20      9th.
21                      LAW CLERK HUGHES: What time?
22                      THE COURT: 9:00 o'clock a.m., and I would
23      say by noon on Friday, the 5th, January 5th, I would like
24      -- I would like written filings from each side as to your
25      thoughts on some of the things we've talked about, and I
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 51 of 54. PageID #: 82
                                                                          51


1       think it makes sense to -- anything on organization you
2       should exchange so you each see it. So from one set --
3       one filing from the plaintiffs and one filing from the
4       defendants, and you should exchange them to the extent
5       you are talking about anything organization wise. If you
6       have anything you want me to -- anything on the
7       settlement or resolution area that you just want me to
8       see, you don't have to share that with the other side.
9       Does that make sense?
10                      MR. WEINBERGER: Pete Weinberger on behalf
11      of the plaintiffs, yes, your Honor, it does.
12                      MS. MAINIGI: Yes, your Honor.
13                      THE COURT: So again, these aren't to be
14      filed on the docket; just, I guess, e-mail them to the
15      Court. E-mail them to me. That's fine. And I will get
16      this --
17                      MR. TROUTMAN: Your Honor, I am one of the
18      prospective speakers.
19                      THE COURT: I'm sorry, what? Who is
20      speaking, please?
21                      MR. TROUTMAN: I'm sorry. This is
22      Mark Troutman from Columbus, Ohio. Are you planning to
23      turn to the list of prospective speakers still, or may I
24      have leave to address the point that I was going to make
25      there now?
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 52 of 54. PageID #: 83
                                                                          52


1                       THE COURT: I am confused, Mark, but was
2       there something you wanted to raise? But go ahead.
3                       MR. TROUTMAN: Yes, there is, your Honor.
4       Thank you. Again, I am Mark Troutman with the Isaac
5       Wiles law firm in Columbus, Ohio. We are in front of you
6       with Dan Karon and Ron Jackson and in some county cases.
7       Our law firm, along with some others, also represents the
8       Ohio Attorney General in a state case filed in Ross
9       County.
10                      Mr. Rice pointed out some very important
11      things about the various status of cases filed in state
12      court, how this Santa Clara case is well into discovery.
13      And there is obviously a lot of cases that have just been
14      filed. Our case was filed seven months ago, again in
15      Ross County, and we are through 12(b)(6) briefing and
16      starting some third-party discovery in that case.
17                      We think it is important early on to
18      identify where these cases are, who the judges are. For
19      the large participant, we might be talking about a lot of
20      the same counsel on this call and ultimately the status
21      of those cases. And we wanted to offer to help you make
22      a more informed decision on January 9th, to volunteer to
23      gather up a list of those cases and be able to present
24      you with that on January 9th, to help facilitate any
25      coordination with those cases that could be had.
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 53 of 54. PageID #: 84
                                                                          53


1                       THE COURT: All right. Thank you, Mark.
2       That will be helpful. So then, I will be able to
3       communicate with the state judges. I found if the
4       federal judge makes the initial communication, then it is
5       easier. Then, none of the state judges have any problem
6       in contacting me. That's how I did it the last time and
7       worked pretty well.
8                       MR. TROUTMAN: We will be sure to have that
9       ready as soon as possible, your Honor.
10                      THE COURT: Okay. Thank you. Okay.
11      Anything else anyone wants to say? So again, we will
12      have these submissions by noon on Friday, the 6th, for
13      your suggestions for the 9th --
14                      LAW CLERK HUGHES: The 5th.
15                      THE COURT: -- to see what you come up with.
16                      LAW CLERK HUGHES: Friday the 5th.
17                      THE COURT: Oh, it is the 5th. Friday the
18      5th. I'm sorry. I looked at the wrong date, January 5th
19      at noon, and exchange those, but I am interested in
20      getting what I will call ex parte submissions from both
21      the plaintiffs and the defendants on ideas moving toward
22      resolution or some structure or ideas on that front.
23                      Okay. Well, I want to thank everyone for
24      getting available on short notice. I apologize if some
25      people got late notice, and I particularly apologize if
     Case: 1:17-md-02804-DAP Doc #: 10 Filed: 12/18/17 54 of 54. PageID #: 85
                                                                          54


1       there are people who should have been on but weren't, but
2       this was done pretty quickly, and we didn't have the
3       benefit of electronic notification. We now do, so that
4       shouldn't be a problem in the future, and I want to wish
5       everyone and their families a very happy holiday season
6       and Happy New Year, and I look forward to seeing you in
7       January.
8                       (Counsel expressed thanks, and hearing was
9       concluded 2:50 p.m.)
10                                  - - - -
11
12
13                           C E R T I F I C A T E

14                      I, George J. Staiduhar, Official Court

15      Reporter in and for the United States District Court,

16      for the Northern District of Ohio, Eastern Division,

17      do hereby certify that the foregoing is a true

18      and correct transcript of the proceedings herein.

19
20                            s/George J. Staiduhar
                              George J. Staiduhar,
21                            Official Court Reporter

22                            U.S. District Court
                              801 W. Superior Ave., Suite 7-184
23                            Cleveland, Ohio 44113
                              (216) 357-7128
24
25
